   Case 3:19-md-02885-MCR-HTC Document 4036 Filed 04/17/24 Page 1 of 3




                    UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF FLORIDA
                         PENSACOLA DIVISION

  IN RE: 3M COMBAT ARMS                        Case No. 3:19md2885
  EARPLUG PRODUCTS
  LIABILITY LITIGATION

  This Document Relates to:                    Judge M. Casey Rodgers
  All Cases                                    Magistrate Judge Hope T. Cannon


                  CASE MANAGEMENT ORDER NO. 88
     (Deadlines and Process for Bulk Submissions of EIF Claims and DPP
                              Supplementations)

      The Settlement Administrator, BrownGreer, has developed a process for

Primary Counsel who prefer to submit data and supporting documents for multiple

Claimants at once for 1) Extraordinary Injury Fund (“EIF”) Award Applications by

MSA I and MSA III Participating Claimants and 2) Supplementations by MSA I

Participating Claimants who elected the Deferred Payment Program (“DPP”). The

Instructions explaining how counsel can use the “Bulk Submission” process were

issued by BrownGreer to Primary Counsel on April 15, 2024, and are attached to

this Order as Exhibit A. Adherence to those Instructions is essential to the efficient

and successful implementation of the Bulk Submission process.

      Accordingly, it is ORDERED that:

      1.     Any Primary Counsel using the Bulk Submission process must comply

with the Instructions attached as Exhibit A and other directions from BrownGreer
    Case 3:19-md-02885-MCR-HTC Document 4036 Filed 04/17/24 Page 2 of 3

                                                                            Page 2 of 3


on operation of the process.

      2.        To avoid logistical challenges with the Bulk Submission process, the

Court, in consultation with Negotiating Plaintiffs’ Counsel and BrownGreer, is

setting deadlines for these kinds of submissions that precede those for individual

submissions. The deadlines for the Bulk Submissions of EIF Applications and DPP

Supplementations are as follows:

       (a) Bulk EIF Applications and Documents for MSA III Wave Claimants:
           April 22, 2024;

       (b) Bulk EIF Applications and Documents for MSA I Claimants: July 23,
           2024;

       (c) Bulk Supplementation by MSA I DPP Claimants: July 23, 2024.

These deadlines are set forth and explained in Section I.C of the Instructions attached

as Exhibit A.

      3.        The Court calls particular attention to the document naming rules

required in Section II.C of the Instructions for EIF supporting documents and in

Section III.B of the Instructions for DPP Supplementation documents. These

naming conventions are crucial to the timely and accurate alignment of supporting

documents with the correct Claimant and the full use of such materials in claim

review. Failure to comply with these instructions will be considered a violation of

this Order and may subject Primary Counsel utilizing the Bulk Submission process

to sanctions.



Case No. 3:19md2885/MCR/HTC
   Case 3:19-md-02885-MCR-HTC Document 4036 Filed 04/17/24 Page 3 of 3

                                                                Page 3 of 3



     SO ORDERED, on this 17th day of April, 2024.



                              M. Casey Rodgers
                              M. CASEY RODGERS
                              UNITED STATES DISTRICT JUDGE




Case No. 3:19md2885/MCR/HTC
